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AO 9] (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

 

 

United States of America )
v. )
FRANCISO MONTEIRO )  CaseNo. WS NS TO TG SUR
JUNIOR LOPES
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of in or about February 2013 to present in the county of Bristol in the
District of Massachusetts _, the defendant(s) violated:
Code Section Offense Description
21 U.S.C. sec. 846 Conspiarcy to distribute heroin -- from a time unknown, but from at least in or

about February 2013, at New Bedford, and elsewhere in the District of
Massachusetts, defendants herein, did knowingly and intentionally combine,
conspire, confederate and agree with persons known and unknown, to possess
with intent to distribute, and to distribute, heroin, a Schedule | controlled
substance, in violation of Title 21, United States Code, Section 841(a)(1), all in
violation of Title 21, United States Code, Section 846.

This criminal complaint is based on these facts:

See attached affidavit

¥ Continued on the attached sheet.

   

omplainant’s signature

pecial Agent DEA, Carl J. Rideout

Printed name and title

   

Sworn to before me and signed in my pr

php6B. Q

Judge's signature

Date: 2/28/2013

City and state: Boston, Massachusetts _ Jennifer C. Boal, U.S. Magistrate Judge

Printed name and title
